                                                                 5/23/2019

                                                               s/ J. Vasquez




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